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                                                                                        E-FILED
                                                           Friday, 16 October, 2020 04:20:47 PM
                                                                    Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS
                           SPRINGFIELD DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff,                               )
                                               )
 v.                                            )      Case No. 05-30079
                                               )
DELBERT MARSHALL,                              )
                                               )
      Defendant.                               )

                                        OPINION

RICHARD MILLS, United States District Judge:

      Delbert Marshall has filed an Amended Motion for Compassionate Release.

      Marshall seeks compassionate release based on the proliferation of COVID-

19 at FCI Greenville combined with the exponential growth of the disease at Bureau

of Prisons (“BOP”) locations around the country, in addition to the Defendant’s pre-

existing health conditions that may place him at high risk for severe illness and/or

death if he contracts the virus.

      The Government claims the Defendant does not fit the requirements for

compassionate release.

                                   I.   BACKGROUND

      On April 10, 2006, the Defendant was sentenced to 420 months’

imprisonment. This term consisted of 240 months on Counts 1 and 2, Distribution
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of Cocaine; 360 months on Count 3, Distribution of Cocaine Base “Crack” within

3,000 Feet of School; 360 months on Count 4, Possession of Cocaine and At Least

5 Grams of Cocaine Base “Crack” With Intent to Distribute Within 1,000 Feet of

School; 120 months on Count 5, Felon in Possession of a Firearm; and 60 months

on Count 6, Possession of a Firearm in Furtherance of Drug Trafficking. He was

also ordered to serve an 8-year term of supervised release.

      The Defendant’s imprisonment term has since been reduced due to retroactive

guideline changes or changes in law. On February 24, 2020, the Defendant’s

sentence was reduced to 180 months imprisonment on Counts 1 through 4, all counts

concurrent; 60 months on Count 6 to run consecutive to Counts 1 through 5; and the

sentence on Count 5 remains unchanged. The Defendant’s supervised release term

was reduced to 6 years.

      The Defendant, who is a 42-year old black male, is incarcerated at FCI

Greenville, a medium security institution, with a scheduled release date of

November 28, 2022. His home detention date is May 28, 2022.

      The Government states that Defendant has HIV, which compromises his

immune system and places him at higher risk for serious side effects should he

contract COVID-19.        Based on that condition, the Government claims that

Defendant has established extraordinary and compelling reasons for his release.

However, the medical records show that Defendant tested negative for HIV in


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September 2017 and in 2018. It does not appear that his medical records show any

positive HIV tests.

      The Defendant’s motion provides that he suffers from hypertension, for which

he takes daily medication, which has been identified by the CDC as a chronic health

condition that might place him at increased risk should he contract COVID-19.

www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions (last visited October 14, 2020). He has recently been diagnosed

as pre-diabetic, with an A1C level of 5.9. The Defendant was also born with pectus

excavatum, which is a structural deformity of the thoracic wall in which the chest

plate grows inward; commonly called “funnel chest,” the sternum and ribcage are

abnormally shaped, which limits lung capacity and can result in fatigue or inability

to exercise, coughing palpitations, or shortness of breath, and can lead to serious

cardiac symptoms. See Ron Winkens, et al., Pectus Excavatum, Not Always as

Harmless     as       it    Seems,    BMJ       Case     Rep.    (Dec.    14,   2009),

www.ncbi.nlm.nih.gov/pmc/articles/PMC3029481; and Mayo Clinic, Pectus

Excavatum:        Not      Just   a   Cosmetic         Concern    (Oct.    3,   2017),

www.mayoclinic.org/medical-professionals/cardiovascular-doseases/news/pectus-

excavatum-not-just-a-cosmetic-concern/mac-20430716.

      The Defendant was hospitalized for having an irregular heartbeat in 2017.

The records show that he was evaluated in December 2017 for chest pain, fatigue,


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irregular heartbeat, prior tobacco use, shortness of breath and hypertension.

Although testing did show an “enlarged right ventricular cavity,” further testing and

assessment that was later conducted by BOP showed normal ventricular size and

function.

      The Government states that, even assuming the Defendant can establish

extraordinary and compelling reasons for his release, his request should be denied

because he presents a danger to the community if released.

      According to the Bureau of Prisons (“BOP”) website, 126 inmates and two

BOP staff members have died of COVID-19. www.bop.gov/coronavirus (last

accessed October 16, 2020). There are 1,632 federal inmates and 762 BOP staff

who are currently positive for COVID-19. Id. Currently, 14,433 inmates and 1,231

staff have recovered. Id. There are 125,905 inmates at BOP-managed institutions,

along with approximately 36,000 BOP staff. Id.

      FCI Greenville has 23 inmates and six staff members who are currently

positive for COVID-19. Id. There have not been any inmate or staff deaths due to

COVID-19. Id. The website reports that 89 inmates and 22 staff members have

recovered. Id. FCI Greenville has 1,249 inmates, including the 243 at the Camp.

www.bop.gov/locations/institutions/for (last accessed October 16, 2020).




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                                 II.   DISCUSSION

                                             (A)

      Under the First Step Act signed into law by President Trump on December

21, 2018, defendants are now authorized to file motions for compassionate release

after first exhausting administrative remedies within the BOP. See 18 U.S.C. §

3582(c)(1)(A). The law provides the sentencing judge with jurisdiction to consider

a defense motion for reduction of sentence based on “extraordinary” or “compelling”

reasons whenever “the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf,” or after “the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier[.].” See 18 U.S.C. §

3582(c)(1)(A).

      The Defendant’s motion represents that he made a request for compassionate

release to the Warden of his facility in April 2020 and followed up on June 18, 2020.

He states he has received no response. Because the Defendant claims to have made

a request to his Warden more than 30 days before the amended motion for

compassionate release was filed, the Court presumes he has met the statutory

exhaustion requirement.

      The Court must also find that a sentence reduction is “consistent with

applicable policy statements issued by the [United States] Sentencing Commission.”
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18 U.S.C. § 3582(c)(1)(A). The First Step Act does not say what “extraordinary and

compelling reasons” warrant a sentence reduction, but the compassionate release

statute directs the Court to consider the sentencing factors of 18 U.S.C. § 3553(a)

when deciding compassionate release motions. See 18 U.S.C. § 3582(c)(1)(A).

      Since passage of the First Step Act, the Sentencing Guideline policy statement

has not been updated to reflect that defendants (and not only the BOP) may move

for compassionate release but courts have turned to U.S.S.G. § 1B1.13 to provide

guidance on the “extraordinary and compelling reasons” that may warrant a sentence

reduction. See United States v. Weatherspoon, 2020 WL 3803035, at *3 (S.D. Ind.

July 7, 2020) (citations omitted). The applicable guideline instructs that the Court

should consider the sentencing factors set forth in 18 U.S.C. § 3553(a) when

deciding a motion for compassionate release and the Court should not grant a

sentence reduction if the defendant poses a risk of danger to the community, as

defined in the Bail Reform Act. See U.S.S.G. § 1B1.13. The policy statement

provides examples of “extraordinary and compelling reasons” in the application

notes. These examples generally fall into four categories based on a defendant’s (1)

terminal illness, (2) debilitating physical or mental health condition, (3) advanced

age and deteriorating health in combination with the amount of time served, or (4)

compelling family circumstances. U.S.S.G. § 1B1.13 comment. n.1 (A)-(C). It



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would not appear that Defendant cannot meet these “extraordinary and compelling

reasons” which would warrant release.

      The commentary also includes a fifth catch-all provision for “extraordinary

and compelling reasons other than, or in combination with, the reasons described in

subdivisions (A) through (C),” as determined by the Bureau of Prisons. The policy

statement was last updated in November 2018 before the First Step Act was passed.

      On April 3, 2020, the Attorney General made the finding that emergency

conditions are materially affecting the functioning of the BOP, thereby allowing the

BOP Director to review all inmates for home confinement. The Attorney General’s

Memorandum explained that “inmates with a suitable confinement plan will

generally be appropriate candidates for home confinement rather than continued

detention at institutions in which COVID-19 is materially affecting their

operations.” There have been calls from legal experts for the Attorney General to

expand the home confinement program even further. Moreover, multiple United

States Senators have recently voiced concern over BOP’s attempts to curb the spread

of the virus and their non-responsiveness to the call to release medically vulnerable

inmates.

                                              (B)




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      Certainly, the COVID-19 pandemic is in and of itself an extraordinary and

unprecedented event in our lifetimes. “The spread of the novel coronavirus, more

specifically COVID-19, has presented extraordinary and unprecedented challenges

for the nation and poses a serious issue for prisons.” United States v. Coles, 2020

WL 1976296, *6 (C.D. Ill. Apr. 24, 2020). The Defendant notes that BOP’s

infection rate is 5.02 times higher than that of the United States and it also surpasses

infection rates around the world. However, “the mere existence of COVID-19 in

society and possibility that it may spread to a particular prison alone cannot

independently justify compassionate release.” United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020).      “Perhaps a prisoner could satisfy the extraordinary and

compelling reasons requirement by showing that his particular institution is facing a

serious outbreak of COVID-19 infections, the institution is unable to successfully

contain the outbreak, and his health condition places him at significant risk of

complications should he contract the virus.” United States v. Melgarejo, 2020 WL

2395982, at *3 (C.D. Ill. May 12, 2020); see also United States v. Johnson, 2020

WL 2573239, at *4 (C.D. Ill. May 21, 2020).

      The Defendant alleges that contracting the virus could result in serious illness,

death or long-term health consequences for him. The virus has proliferated at FCI

Greenville and the Court can consider the added risk of death. Because the danger

of contracting COVID-19 while in BOP custody is real and because the Defendant

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claims he is at high risk of experiencing serious complications from the disease due

to his history of hypertension, pre-diabetes, possible heart defect and pectus

excavatum, the Court may exercise its discretion to determine that this combination

of factors present an extraordinary and compelling basis for a sentence reduction.

      It is worth noting that the COVID-19 situation at FCI Greenville has worsened

since the Defendant’s motion was filed in August, when there were only five positive

cases among inmates and staff and six individuals who had recovered. As noted,

there are now 29 positive cases among inmates and staff with 111 having recovered.

The Defendant’s hypertension may increase his risk of severe illness from COVID-

19. Although the Defendant’s other listed conditions are not specified as enhancing

the risk, the Defendant has had various cardiac issues which would appear to present

at least a potential risk of severe illness were he to contract COVID-19. Based on

conditions at FCI Greenville and the Defendant’s health concerns, the Court finds

that he has established extraordinary and compelling reasons for his release.

                                             (B)

      If extraordinary and compelling circumstances are established, the Court

should then consider the statutory sentencing factors. Under Pepper v. United

States, 562 U.S. 476, 490-493 (2011), the Court should consider any applicable post-

offense developments under § 3553(a).


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      The Defendant’s BOP disciplinary record consists of three serious rules

violations which resulted in disciplinary actions, though none are particularly recent.

The most recent violation occurred in June 2015, when the Defendant was

sanctioned for fighting with another person. The other infractions for possessing

intoxicants and assaulting without serious injury occurred fourteen and eight years

ago, respectively.

      The Defendant has served almost 182 months out of what is now an aggregate

240-month sentence, which is approximately 75% of his sentence. During his BOP

term, the Defendant has worked for Unicor and earned the “all-star award.”

According to a Letter of Community Service from the Unicor Foreman, the

Defendant in April 2020 volunteered to make 2,800 facemasks for local HSHS

hospitals.   The Defendant has also participated in educational and vocational

programming, having completed a 225-hour small gas engine course, 125 hour

automotive engine course and a Commercial Driver’s License course, in addition to

others. He has also participated in substance abuse treatment.

      The Defendant has just over two years remaining on his sentence, which has

been significantly reduced since he was sentenced in 2006. According to the

Compassionate Release Memorandum prepared by the United States Probation

Office, the Defendant was classified as a high-risk recidivism level on March 17,

2020. Presumably, the high-risk classification is because of the seriousness of the
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six convictions in this case, in addition to the Defendant’s criminal history. The

Defendant had a particularly extensive criminal history for a 27-year old at the time

he committed the crimes. Based on those considerations, it is likely true statistically

that Defendant is a high risk to reoffend.

      When the Court considers the Defendant individually, however, it is apparent

that he has made some significant improvements in his life during his BOP term.

The Defendant’s participation in educational and vocational programs makes it more

likely that he will succeed upon release, as does his substance abuse treatment. The

Defendant’s work with Unicor should also significantly benefit him and hopefully

will ease his transition into society upon release.

      The most important sentencing factors at this point are whether the sentence

imposed has afforded adequate deterrence and served to protect the public from

further crimes of the Defendant. Obviously, it is unknowable whether the Defendant

will commit further crimes. The Defendant says he is not the same person at 42 as

he was at 27. He has been in custody for over 15 years. While the Defendant does

have three BOP rules violations, none are particularly recent which could suggest

that he has made strides in terms of learning to follow rules. Based on these

circumstances and the progress noted above, the Court finds that the record suggests

he may no longer be a danger to the community. The Court will also modify the

Defendant’s supervised release conditions to include a term of home confinement,
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which will ensure that he is closely monitored to address any issues that might arise

following his release from BOP.

      Before the Defendant can be released, he must have an approved release plan.

The Compassionate Release Memorandum dated July 8, 2020 provides that the

Probation Office was unable to contact the Defendant’s father, with whom the

Defendant plans to reside upon release. Therefore, the Court will withhold the entry

of Judgment pending approval of a release plan for the Defendant.

                                III.     CONCLUSION

      Based on the number of positive COVID-19 cases at FCI Greenville and

Defendant’s health concerns and given that he has served most of his sentence, the

Court finds that Defendant has established extraordinary and compelling reasons that

warrant a reduction in the term of imprisonment, and the Court further finds that

compassionate release is appropriate in this case.

      Ergo, Defendant Delbert Marshall’s Amended Motion for Compassionate

Release [d/e 113] is GRANTED.

      The Clerk will terminate the Defendant’s pro se Motion for Compassionate

Release [d/e 109].

      The Court will withhold entry of Judgment pending approval of a release plan

by the United States Probation Office.
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      The Court hereby reduces Defendant’s term of imprisonment from a total of

240 months to time served plus 72 hours in order to allow BOP to test Defendant for

COVID-19 and for Defendant to arrange transportation, once the Defendant’s

release plan has been approved.

      The Court modifies Defendant’s conditions of supervised release to require

Defendant to spend six months in home confinement, with the first 14 days to be

spent in isolation. The home confinement shall start as soon as possible after his

term of supervised release begins. Defendant shall be monitored by telephonic

monitoring as approved by the United States Probation Office until such time as the

U.S. Probation Office is able to implement electronic monitoring. All other aspects

of Defendant’s previous sentence shall remain the same.

      The Bureau of Prisons is ORDERED to test Defendant for COVID-19 prior

to his release. The Bureau of Prisons shall advise the U.S. Probation Office of the

results of the test and, further, the Bureau of Prisons is also ORDERED to release

Defendant once he has tested negative for COVID-19 and Judgment has been

entered.

      The Clerk is DIRECTED to send a copy of this Order to FCI Greenville.

Defendant must self-quarantine for a period of 14 days beginning at the time of his

release.


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      The Court will enter Judgment upon learning that Defendant’s release plan

has been approved by the United State Probation Office.

      The Clerk will send a copy of this Order to the United States Probation Office.

ENTER: October 16, 2020

      FOR THE COURT:
                                                    /s/ Richard Mills
                                                    Richard Mills
                                                    United States District Judge




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